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   2   MARSHAL A. OLDMAN, State Bar #72149
       OLDMAN, COOLEY, SALLUS, BIRNBERG,
   3   COLEMAN & GOLD, L.L.P.
       16133 Ventura Boulevard, Penthouse
   4   Encino, California 91436-2403
       Phone(818)986-8080; Fax(818)789-0947
   5

   6   5,pecially Appearing for Defendants and
       Cross-Compfainants Harold Igdaloff,
   7     state of Evelyn [g_daloff Deceased
       and Igdaloff 1993 Family Trust
   8
                                  UNITED STATES DISTRICT COURT
   9
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10

  11
       GEORGE TORRES, et al.,                 Case No. 2: l 7-cv-4059-MCS-JEM
  12
                     Plaintiff,               DECLARATION OF MARSHAL A.
  13                                          OLDMAN, ESQ. 1 IN SUPPORT OF
             v.                               DEFENDANTS AND CROSS-
  14                                          COMPLAINANTS HAROLD
       HAROLD IGDALOFF, et al.,               IGDALOFF, ESTATE OF EVELYN
  15                                          IGDALOFF, DECEASED,AND
                     Defendants.              lGDALOFF 1993 FAMILY TRUST'S
  16                                          EX PARTE APPLICATION TO
                                              CONTINUE THE TRIAL DA TE BY
  17                                          THIRTY (30) DAYS
  18

  19   AND RELATED                            Cou1troom: 7c (First Street Courthouse)
       COUNTERCLAIMS AND CROSS-               Judge: Hon. Mark C. Scarsi
  20   ACTIONS
                                              Date Fil ed: May 31, 2017
  21                                          Trial Date: April 19, 2022
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                             DECLARATION OF MARSHAL A. OLDMAN, ESQ.
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    1                     DECLARATION OF MARSHAL A. OLDMAN, ESQ.

    2         I, Marshal A. Oldman, Esq., declare as follows:
    3         1.     I am a Partner with Oldman, Cooley, Sallus, Birnberg, Coleman &
    4   Gold, LLP, and an attorney at law duly admitted to practice before the courts of the
    5   State of California. I am currently representing Mr. Harold B. Igdaloff ("Mr.
    6   Igdaloff') in a conservatorship action, Los Angeles Superior Court Case No.
    7   21 STPB09584.
    8         2.     As of April 7, 2022, Harold Igdaloff provided me with power of
    9   attorney to act on his behalf, including with the authority to engage in efforts to
   10   settle the subject case with Union Pacific.
   11         3.     I am making a special appearance in this action on behalf of
   12   Defendants and Cross-Complainants Harold Igdaloff, Estate of Evelyn Igdaloff,
   13   Deceased, and Igdaloff 1993 Family Trust (collectively, "Igdaloffs"). I make this
   14   declaration in support of the Igdaloff's Ex Parte Application To Continue The Trial
   15   Date By Thirty (30) Days ("Application").
   16         4.     Except for those matters stated on information and belief, which I
   17   believe to be true, I know the following facts to be true of my own knowledge, and
   18   if called to testify, I could competently do so.
   19         5.     The above-caption matter is currently set for trial on April 19, 2022.
  20          6.     On February 28, 2022, Hany S. Fangary, Esq. ("Mr. Fangary") filed a
  21    motion to withdraw as counsel for the Igdaloffs (Dkt. 442), which this Court
  22    granted by Order dated March 18, 2022 (Dkt. 454 ), as amended by Order dated
  23    April 11, 2022 (Dkt. 467). The Court simultaneously granted Union Pacific
  24    Railroad Company's ("Union Pacific's) motion in limine for evidentiary sanctions
  25    (Dkt. 416), which order states, in part, "The Igdaloffs shall not present any evidence
  26    for any claim or defense, shall not object to any of Union Pacific's evidence, and
  27    shall only be permitted to cross-examine Union Pacific's witnesses." (Dkt 467).
  28          7.     Since the issuance of the Court's Order granting Mr. Fangary's motion
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       to withdraw, I have been assisting Mr. Igdaloff in attempting to retain new trial
   2   counsel to replace Mr. Fangary. However, due to a number of factors, including the
   3   looming April 19, 2022 trial date and the Court's order granting Union Pacific's
   4   request for evidentiary sanctions, the Igdaloffs have been unable to retain new trial
   5   counsel.
   6         8.     On April 11, 2022, I retained Gary A. Meyer, Esq. ("Mr. Meyer") of
   7   Parker, Milliken, Clark, O'Hara & Samuelian, A Professional Corporation, as an
   8   environmental law legal advisor to assist me in connection with environmental and
   9   remediation issues at the properties that are the subject of this litigation and in
  10   attempting to reach an out of court settlement of this action. Mr. Meyer is an
  11   environmental lawyer with nearly forty years of environmental law experience and
  12   whose practice includes CERCLA cost recovery actions, as well as site
  13   investigations and remediations under the oversight of various California and
  14   federal regulatory agencies, including Cal EPA's Department of Toxic Substances
  15   Control, the oversite agency which is over-seeing the remediation of the subject
  16   properties. A copy ofMr. Meyer's resume, which reveals, inter alia, his
  17   designation as 2017 Environmental Attorney of the Year by the Los Angeles
  18   Business Journal; past Chair of the Los Angeles County Bar's Environmental Law
  19   Section; and moderator and chair of an Annual Environmental Law Seminar Mr.
  20   Myer initiated in 1985, is attached hereto as Exhibit A. Moreover, and highly
  21   relevant to the efficacy of this trial continuance request, is the fact that Mr. Meyer
  22   has a very good preexisting working relationship with both Union Pacific's counsel,
  23   Sarah P. Bell ("Ms. Bell"), and with mediator Timothy P. Gallagher ("Mr.
  24   Gallagher."). These factors work in favor of the parties engaging in a meaningful
  25   and productive mediation, with the prospect of reaching resolution.
  26         9.     I was informed by Mr. Meyer that shortly after being retained on April
  27   11, 2022, Mr. Meyer contacted both Union Pacific's counsel, Ms. Bell, and
  28   mediator, Timothy Gallgher. Mr. Gallagher had previously been engaged as the

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   1   mediator in this case and is intimately familiar with the details of this case. Mr.
   2   Meyer advised me that Mr. Gallagher fully endorsed engaging in a further
   3   mediation session and that Mr. Gallagher would be amenable to setting a mediation
   4   date as soon as possible. Mr. Meyer further informed me that he had spoken with
   5   Ms. Bell who stated that her client would be inclined to support a short trial
   6   continuance if Mr. Gallagher did as well.
   7         10.    A 30-day continuance of the trial date would allow sufficient time for
   8   Mr. Meyer to review relevant portions of both the regulatory file and the litigation
   9   file, for the Union Pacific and the Igdaloffs to coordinate a further mediation
  10   session before Mr. Gallagher, and for the parties to engage in good faith mediation
  11   which could obviate the need for a trial in this action. I am further informed and
  12   believe that a successful mediation would serve to conserve judicial resources,
  13   prevent the parties from incurring further attorneys' fees and costs associated with
  14   the trial of this matter, and mitigate the harm suffered by lgdaloffs by having their
  15   litigation counsel withdraw from the case near the eve of trial.
  16         I declare under penalty of perjury under the laws of the United States of
  17   America that the foregoing is true and correct.
  18         Executed April 12, 2022, in Encino, California.
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                            DECLARATION OF MARSHAL A. OLDMAN, ESQ.
